
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Onesia Ann Najera, Defendant-Appellant. No. 19CA1043Court of Appeals of Colorado, Seventh DivisionNovember 25, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Jefferson County District Court No. 15CR2261 Honorable Tamara
      S. Russell, Judge.
    
    
               
      OPINION
    
    
                GROVE,
      JUDGE.
    
    
               ORDER
      AFFIRMED
    
    
               
      Navarro and Pawar, JJ., concur.
    
    